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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

JPA HOLDINGS, LLC, a Michigan                        Case No.: 21-cv-11884
Limited Liability Company, and                       Hon. Matthew F. Leitman
SANDEEP GOSAL, on behalf of themselves
and other similarly situated,

       Plaintiffs,
v

THE 36TH DISTRICT COURT,
a District Court for the State of Michigan,
and HONORABLE WILLIAM C. McCONICO,
in his capacity as Chief Judge of the 36th District Court,

       Defendants.

       DEFENDANTS’ MOTION TO DISMISS THE CLASS ACTION
        COMPLAINT PURSUANT TO FEDERAL RULES OF CIVIL
                  PROCEDURE 12(b)(1) AND (6)

    In lieu of an answer to the Amended Complaint, Defendants 36th District Court

and Hon. William C. McConico, through their counsel, file this Motion to Dismiss

pursuant to Fed. R. C. P. 12(b)(1) and (6) for the reasons stated in the accompanying

Brief. Defendants assert Eleventh Amendment Immunity, Rooker-Feldman, the

Younger Abstention Doctrine, Absolute Judicial Immunity, Qualified Immunity,

Mootness and Ripeness dismissing all counts.

    Per Local Rule 7.1, Defendant sought concurrence in the relief requested in this

motion during a telephone conference held on October 28, 2021, but Plaintiffs’
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concurrence was not forthcoming. Defendants respectfully request that this Court

dismiss this lawsuit, dismiss for lack of jurisdiction, grant applicable immunity,

grant Defendants’ attorneys fees pursuant to 42 USC § 1988(b), and any other

appropriate relief.

                                            Respectfully submitted,

                                            ALLEN BROTHERS, PLLC

                                     By:    /s/ Lindsey R. Johnson
                                            James P. Allen, Sr. (P52885)
                                            Lindsey R. Johnson (P67081)
                                            Attorneys for Defendant 36th DC
                                            400 Monroe, Ste. 620
                                            Detroit, MI 48226
Dated: October 29, 2021                     (313) 962-7777




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

JPA HOLDINGS, LLC, a Michigan                        Case No.: 21-cv-11884
Limited Liability Company, and                       Hon. Matthew F. Leitman
SANDEEP GOSAL, on behalf of themselves
and other similarly situated,

      Plaintiffs,
v

THE 36TH DISTRICT COURT,
a District Court for the State of Michigan,
and HONORABLE WILLIAM C. McCONICO,
in his capacity as Chief Judge of the 36th District Court,

      Defendants.


    DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS THE
    CLASS ACTION COMPLAINT PURSUANT TO FEDERAL RULES OF
                CIVIL PROCEDURE 12(b)(1) AND (6)
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             CONCISE STATEMENT OF ISSUES PRESENTED

      1.)   Do the Defendants have immunity under the Eleventh Amendment
            resulting in dismissal of all federal claims?

      2.)   Do Plaintiffs lack standing for prospective relief from the 36th District
            Court and/or its Chief Judge?

      3.)   Should this court abstain from exercising jurisdiction that would
            interfere with the proper functioning of a state court?

      4.)   Should Plaintiff’s Fifth Amendment Taking Claim be dismissed as it
            not ripe since they have not availed themselves of State remedies?

      5.)   Should Plaintiffs’ claims be dismissed for mootness following the
            Supreme Court decision striking the CDC Moratorium and the 36th
            District Court resuming non-payment of rent evictions pursuant to State
            Court administrative orders, court rules and statutes?

      6.)   Are Plaintiff’s claims against the 36th District Court Judge barred by
            absolute judicial immunity?

      7.)   Are Plaintiff’s claims against the 36th District Court Judge barred by
            qualified immunity?

Defendants answer all questions: Yes.
Plaintiffs likely answer all questions: No.
This Court should answer all questions: Yes.




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        CONTROLLING OR MOST APPROPRIATE AUTHORITY

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Will v Michigan Dep’t of State Police, 491 US 58 (1989)

Verizon Md Inc v Pub Serv Comm’n of Md, 535 US 635, 645 (2002)

Edelman v Jordan, 415 US 651, 673 (1974)

Younger v Harris, 401 US 37 (1971)

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Michigan State Court Administrator’s Office AO No. 2020-17




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      I. INTRODUCTION

      Plaintiffs, JPA Holdings, LLC (“JPA Holdings”) and Sandeep Gosal (“Gosal”),

landlords with properties located in the City of Detroit filed this class action lawsuit

seeking declaratory relief and monetary damages against the 36th District Court

(“Defendant Court” or “36th District Court”) and its Chief Judge Hon. William C.

McConico (“Chief Judge”), for a Fifth Amendment takings claim associated with an

August 4, 2021 notification to court officers to hold-off on all evictions per a CDC

moratorium (ECF No. 1-2, PageID.21), which was later clarified on August 6, 2021

by a subsequent 36th District Court announcement explaining the Centers for Disease

Control (“CDC”) moratorium on certain evictions (ECF No. 1-3, PageID.23). Yet,

applying even the most liberal pleading standards, this Complaint collapses under

the weight of applicable immunities. Further, Plaintiffs have received orders of

eviction 1 and 36th District Court has no order prohibiting evictions. The Court has

fully complied with the August 26, 2021, United States Supreme Court decision of

Ala. Ass’n of Realtors v HHS, 210 L Ed 2d 856 which found that the CDC exceeded

its authority when issuing the nationwide moratorium. In short, no actual live

controversy exists for this Court to adjudicate.

      While this Motion cannot address the veracity of Plaintiffs’ statements, such

scrutiny is unwarranted as the allegations, even if believed, do not amount to


1
    (Ex. A and C, executed orders of eviction).
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actionable conduct. The 36th District Court lawfully abided by the CDC Eviction

Moratorium and Michigan State Supreme Court Administrative Ordinance No.

2020-17 until the above decision from the Supreme Court of the United States

effectively invalidated them. Further, as outlined below, Plaintiffs’ claims should be

dismissed based on applicable immunities, lack of ripeness, and in the alternative,

mootness grounds.

    II. STATEMENT OF FACTS

       A. Federal Eviction Moratoriums in Response to COVID-19 Pandemic

    On March 27, 2020, Congress passed the Coronavirus Aid, Relief, and Economic

Security Act (“CARES”), which created a residential eviction moratorium that

prohibited landlords from forcibly evicting a tenant until 30 days after the expiration

of the moratorium (August 23, 2020). 2 On September 4, 2020, the CDC imposed a

nationwide temporary federal moratorium on residential evictions for nonpayment

of rent through December 31, 2020. 3 The stated purpose of the order was to prevent

further spread of COVID-19, specifically by preventing homelessness and

overcrowded housing conditions resulting from eviction. Id. Congress extended the

CDC’s moratorium one month as part of the second COVID-19 Relief Act.4




2
  Pub L 116-136 § 4024 at 492-494.
3
  85 Fed Reg 55292 (2020).
4
  Pub L 116-260, § 502, 134 Stat 2078-2079.

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        The CDC extended the nationwide moratorium through March 2021, then

June 2021, and through July 2021.5 The moratorium expired on July 31, 2021. Three

days later, the CDC reimposed the eviction moratorium. 6

       B.     36th District Court Matters

        On August 4, 2021, the 36th District Court Chief Judge entered an order

prohibiting evictions until further notice due to the CDC Moratorium. (ECF No. 1-

2, PageID.21) Within 48 hours, August 6, 2021, the 36th District Court issued an

announcement to the public clarifying for landlords/tenants/court officers that, in

accordance with the CDC’s August 3, 2021 Moratorium, no residential evictions

would proceed for non-payment of rent in Detroit where tenants provided their

landlords with signed CDC Declaration. (ECF No. 1-3, PageID.23). On August 15,

2021, Plaintiffs JPA Holdings and Gosal filed this Fifth Amendment takings lawsuit

against the 36th District Court and Hon. McConico (ECF No. 1, PageID.1-23)

requesting, inter alia, that this Court enter an order compelling the 36th District Court

to enter order of evictions for non-payment of rent (all others had resumed). (ECF

No. 1, PageID.16). However, weeks earlier, on July 28, 2021, the 36th District Court




5
    86 Fed Reg 8020 16731, 34010.
6
    86 Fed Reg 43244.

                                           3
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entered an order of eviction for JPA Holdings. (Ex. A, JPA Holdings Order of

Eviction). 7

      On August 26, 2021, the United States Supreme Court issued the decision of

Ala. Ass’n of Realtors v HHS, 8 which found that the CDC exceeded its authority

when issuing the nationwide moratorium. Following the Supreme Court decision

(which allowed for a 30-day grace period before landlords could resume evictions),

36th District Court resumed hearing residential evictions for non-payment of rent.

(Ex. B, August 27, 2021 public records).

      On October 7, 2021, 36th District Court Judge A. Jones-Coleman entered the

order of eviction in favor of Defendant Gosal. (Ex. C, Gosal Order of Eviction).

Shortly thereafter, on October 13, 2021, Plaintiffs’ attorney, Aaron Cox, on behalf

of a possible class member in the subject class action lawsuit, In re Steve Rosman,

filed a complaint seeking superintending control in Wayne County Circuit Court of

a landlord/tenant matter 21-349274-LT,9 demanding that the Wayne County Circuit

Court issues an order declaring that:

      1.)      the 36th District Court’s practice of adjourning summary
               proceedings cases in excess of 56 days violates the Michigan
               Court Rules and Summary Proceedings Act, and AO 2020-17.


7
  When considering a 12(b)(6) motion, the court may review allegations in the
complaint, matters of public record, orders, items appearing in the record of the
case, and exhibits attached. Amini v. Oberlin Coll, 259 F3d 493, 502 (6th Cir 2001).
8
  210 L Ed 2d 856.
9
  Ex. D, Superintending Control Complaint.

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      2.)    any adjournments of summary proceeds over seven (7) days
             (MCL 600.5735) may only be ordered upon a showing of actual
             good cause.

      3)     Inunction and/or Writ of Superintending Control mandating that
             the 36h District Court shall strictly comply with the time
             requirements for deciding to finality all summary proceeding
             cases filed in accordance with MCR 4.201 (J) and MCR 4.201 (J)
             and MCL 600.5735.

      4)     Award plaintiff’s costs and attorney’s fees.

      Less than a week after serving this superintending control complaint on the

36th District Court, Rosman, through Attorney Aaron Cox, dismissed the eviction

lawsuit altogether during the October 21, 2001 hearing.10 Dismissal of the eviction

was not surprising in light of the record before the 36th District Court wherein there

was a dispute regarding ownership of the property, which was disputed by a tenant

that repeatedly appeared at hearings disputing the eviction11 – although the

superintending control pleading conspicuously omits these critical facts in what

appears a transparent attempt to argue that the Court is engaged in a de facto

moratorium.12 As of the filing of this Motion, Plaintiffs’ attorney Aaron Cox has not

withdrawn the Superintending Control Complaint.




10
   Ex. E, Rossman 36th District Court Dismissal Order.
11
   Ex. F, August 3, 2021 Hearing Transcript; Ex. G, September 8, 2021 Hearing
Transcript.
12
   Ex. D.

                                          5
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   III.      LEGAL STANDARDS

   A motion under Rule 12(b)(1) seeks to dismiss a complaint for lack of proper

subject matter jurisdiction. Proper jurisdiction is a requirement in determining the

validity of a claim, and as such, Rule 12(b)(1) motions must be considered by a court

prior to any other challenges. Bell v Hood, 327 US 678, 682 (1946). Rule 12(b)(1)

motions fall into two general categories: facial attacks and factual attacks. United

States v Ritchie, 15 F3d 592, 598 (6th Cir 1994). A facial attack challenges the

sufficiency of the pleading itself. Id. During a facial attack, the court must treat all

material allegations in the complaint as true and in the light most favorable to the

non-moving party, while a factual attack, challenges the factual existence of subject

matter jurisdiction. Id. “On such a motion, no presumptive of truthfulness applies to

the factual allegations . . . and the court is free to weigh the evidence and satisfy

itself as to the existence of its power to hear the case.” Id.

   A motion under 12(b)(6) tests the legal sufficiency of the complaint. As the

Supreme Court provided in Iqbal, “[t]o survive a motion to dismiss, a complaint

must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’” Ashcroft v Iqbal, 556 US 662 (2009) (quoting Bell Atl Corp

v Twombly, 550 US 544, 570, (2007)). “Determining whether a complaint states a




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plausible claim for relief will . . . be a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense.” Id. at 1950.13

     IV.        ARGUMENTS

        A. Plaintiff’s claims should be dismissed for lack of subject matter
           jurisdiction.

           1. Defendants have Eleventh Amendment Immunity which results in
              dismissal of all counts.

     The Eleventh Amendment bars claims against a State and its agencies unless the

State unequivocally consents to suit in federal court, or Congress expressly waives

it. Edelman v Jordan, 415 US 651, 673 (1974); Seminole Tribe of Fl v Fl, 517 US

44, 54-55 (1996); Harrison v Mich, 722 F3d 768, 771 (6th Cir 2013). The State has

not consented to suit in federal court under 42 USC §§ 1981, 1983 or 1985, nor any

supplemental state law theory. Similarly, Congress has not expressly waived this

jurisdictional immunity, defined as an “unequivocal expression of Congressional

intent.” Quern v Jordan, 440 US 332, 342 (1979). This immunity applies to the State

and its agencies whatever the nature of the relief that is requested, including

supplemental state law claims. Pennhurst State Scl & Hosp v Halderman, 465 US


13
   When reviewing a Rule 12(b)(6) motion courts may consider public records,
including judicial proceedings, without converting the motion to one for summary
judgment. Winget v JP Morgan Chase Bank, NA, 537 F3d 565, 576 (6th Cir 2008).
The Court may consider the pleadings, exhibits and documents referred to in the
complaint that are central to the plaintiff's claims. See Greenberg v Life Ins Co of
Va, 177 F3d 507, 514 (6th Cir 1999).

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89, 101, 120-121 (1984). “This immunity flows from the nature of sovereignty itself

as well as the Tenth and Eleventh Amendments to the United States Constitution and

applies to claims against a State by citizens of the same State, claims against a State

by citizens of another State, and actions against state officials sued in their official

capacity for money damages.” Barachkov v 41B Dist Ct, 311 F App'x 863, 866-67

(6th Cir 2009).

   Defendant 36th District Court is an “arm of the State” for purposes of Eleventh

Amendment Immunity. Pucci v 19th Dist Ct, 628 F3d 752 (6th Cir 2010). In Pucci,

the Court addressed whether Michigan’s 19th District Court and its chief judge

should receive Eleventh Amendment sovereign immunity from a former deputy

court administrator’s § 1983 action alleging her termination violated the First and

Fourteenth Amendments. Pucci, 628 F3d at 755-56. Applying the four context-

specific factors for sovereign immunity, the Sixth Circuit held “Michigan's district

courts, including the 19th District Court, are arms of the state [as opposed to political

subdivisions] for sovereign-immunity purposes.” Id. at 760-62. In addition, the

Supreme Court held that a State acting in its official capacity is not a “person” under

§ 1983. Will v Mich Dept of State Police, 491 US 58, 71 (1989). Mumford v Basinski,

105 F3d 264, 268 (6th Cir, 1997); Foster v Walsh, 864 F2d 416 (6th Cir 1988).

   Under the Michigan Constitution, the judiciary is a separate and independent

branch of state government. See Judicial Attorneys Ass’n v State, 459 Mich 291


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(1998). Defendant 36th District Court is part of the “one court of justice” established

by the Mich. Constitution Art VI, § 1. (“The judicial power of the state is vested

exclusively in one court of justice which shall be divided into one supreme court,

one court of appeals, one trial court of general jurisdiction known as the circuit court,

one probate court, and courts of limited jurisdiction that the legislature may establish

by a two-thirds vote of the members elected to and serving in each house”).

      Eleventh Amendment immunity also applies to Chief Judge McConico. The

crux of Plaintiff’s lawsuit against the Chief Judge is based on actions he took against

them while performing duties in his official capacity as a 36th District Court Chief

Judge. As such, Chief Judge McConico enjoys Eleventh Amendment immunity

which precludes Plaintiffs’ claims under 42 USC § 1983 against Judge McConico.

See Ferritto v. Ohio Dep't. of Highway Safety, 928 F.2d 404 (table), 1991 US App

LEXIS 4709 at *5 (6th Cir. Mar 19, 1991) (Ex. H) (“The Eleventh Amendment

prohibits actions against states and state agencies under section 1983….”)

       2. Plaintiffs lack standing for prospective relief from the 36th District
          Court and/or its Chief Judge.

   Plaintiffs do not meet the stringent and specific standing doctrine the Supreme

Court imposes on § 1983 cases seeking prospective injunctive relief as espoused in

City of Los Angeles v Lyons, 461 US 95 (1983). In Lyons, the Supreme Court held

that, to have standing for prospective relief, one must demonstrate a sufficient

likelihood that he or someone similarly situated to him, would likely be subjected to

                                           9
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the same allegedly unconstitutional actions. As such, Plaintiff must demonstrate

similarly situated persons in the future would be subject to the “unconstitutional

behavior” by the 36th District Court. However, the likelihood of such an action

occurring is nil as only certain residential evictions were halted during the CDC

moratorium, which is no longer in effect and which 36th District Court stopped

enforcing.14

     Ex parte Young similarly provides no authority for prospective relief against the

Defendants and/or current Chief Judge. 209 US 123 (1908). Ex parte Young permits

prospective relief against a state official (official capacity) to prevent future federal

constitutional or federal statutory violations. But, to determine whether a plaintiff

has alleged an Ex parte Young claim, the federal court need only inquire into

“whether [the] complaint alleges an ongoing violation of federal law and seeks relief

properly characterized as prospective.’” Verizon Md Inc v Pub Serv Comm’n of Md,

535 US 635, 645 (2002) (quoting Idaho v Coeur d’Alene Tribe of Idaho, 521 US

261, 296 (1997) (O’Connor, J., concurring)). Hence, declaratory relief is only



14
  Ex. I, Sampling of 36th District Court orders of evictions for non-payment of rent
in past 30 days (61 orders of eviction). Specifically, during the last 30 days
approximately 246 orders of eviction of non-payment of rent were entered in the
36th District Court, but were not all attached to this Motion due to the
volume. However, all 246 orders can be produced to the Court at its direction.
Notably, during that 30 day period the 36th District Court also entered 224
termination of tenancy eviction orders, 23 money judgment eviction orders, 22 land
contract eviction orders and 10 health hazard eviction orders.

                                           10
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allowed when there are ongoing or threatened violations of federal law. Green v

Mansour, 474 US 64, 73 (1985). Here, as detailed above, 36th District Court, in

accordance with the U.S. Supreme Court’s recent decision to overturn the eviction

moratorium, has resumed its landlord-tenant docket (albeit with a backlog) and

evictions have resumed. 15 There is, therefore, virtually no likelihood that the alleged

wrongdoing could repeat to the degree of certainty required for prospective

injunctive relief.

        B. Alternatively, this court should abstain from exercising jurisdiction
           that would interfere with the proper functioning of a state court.

     A federal court must decline to interfere with pending state proceedings involving

important state interests unless extraordinary circumstances are present. Abstention

pursuant to the judicially-crafted rule announced in Younger v Harris, 401 US 37

(1971), is appropriate where a court can answer all three of the following questions

in the affirmative: (1) the relevant State proceedings constitute an ongoing state

judicial proceeding; (2) the proceedings implicate important State interests; and (3)

there is an adequate opportunity in the State proceedings to raise constitutional

challenges. CSXT, Inc v Pitz, 883 F2d 468, 474 (6th Cir 1989) (citing Middlesex

County Ethics Comm v Garden State Bar Ass’n, 457 US 423, 432 (1982)).

Abstention is mandated whether the state court proceeding is criminal, quasi-



15
     Ex. D.

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criminal, or civil in nature as long as federal court intervention “unduly interferes

with the legitimate activities of the State.” Younger, 401 US at 44.

      Here, the Michigan State Court Administrator’s Office issued AO No. 2020-17

– Continuation of Alternative Procedures for Landlord/Tenant Cases, which was

entered on June 9, 2020 and has been amended as recently July 26, 2021 (a little

more than 2 weeks before this class action was filed) and pertinent parts are as

follows (hereinafter known as “Admin Ord No 2020-17”) 16:

                [T]he [Michigan Supreme] Court adopts this administrative
         order under 1963 Cont, Art VI, Sec 4, which provides for the Supreme
         Court’s general superintending control over all state court, directing
         court to process landlord/tenant cases following the procedures outlined
         in this order.

         (A) All local administrative order requiring a written answer
         pursuant to MCL 600.5735(4) are temporarily suspended. Unless
         otherwise provided by the order, a court must comply with MCR 4.201
         with regard to summary proceedings.

         (B) At the initial hearing noticed by the summons, the court must
         conduct a pretrial hearing consistent with SCAO guidance.

               …

         (D) Courts are authorized to proceed with these actions by way of
         remote participation tools and encouraged to do so to the greatest extent
         possible. The court scheduling a remote hearing must “verify that all
         participants are able to proceed in this matter.” Therefore, the summon
         for each case filed under the Summary Proceedings Act must provide
         the date and time for remote participation in the scheduled hearing, if
         applicable. In addition, the summons must be accompanied by any
         written information about the availability of counsel and housing

16
     Ex. J, Admin Ord No 2020-17.

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     assistance information as provided by legal aid or local funding
     agencies. If a remote hearing is scheduled for the first proceedings,
     the defendant received personal service pursuant to MCR 2.105(A).
     and the defendant fails to appear, a default may enter. If a remote
     hearing is scheduled for the first proceedings and the defendant
     fails to appear and has not been served under MCR 2.105(A), the
     court may not enter a default but must reschedule the hearing and
     mail notice for that rescheduled hearing as an in-person
     proceeding. Under these conditions, a notice of rescheduled hearing
     mailed by the court within 24 hours after the initial hearing date is
     sufficient notice of the rescheduled hearing, notwithstanding any other
     court rule. Other parties or participants may proceed remotely.

     (E) Except as provided below, all Summary Proceeding Act cases
     must be adjourned for seven days after the pretrial hearing in subsection
     (B) is conducted. Nothing in this order limits the statutory authority
     of a judge to adjourn for a longer period. MCL 600.5732. Any
     party who does not appear at the hearing scheduled for the adjourned
     date will be defaulted. Cases need not be adjourned for seven days if:
     the plaintiff dismisses the complaint, with or without prejudice, and
     without any conditions, if defendant was personally served under MCR
     2.105(A) and fails to appear, or where both plaintiff and defendant are
     represented by counsel and a consent judgment or conditional dismissal
     is filed with the court. Where plaintiff and defendant are represented
     by counsel, the parties may submit a conditional dismissal or consent
     judgment is lieu of appearing personally at the second hearing.

     (F) The court may require remote participation in the second, and
     any subsequent, proceeding, and the court must verify that participants
     are able to proceed in that matter.

     (G) In cases filed pursuant to MCL 600.5714(1)(a) for nonpayment
     of rent, a court must stay further proceedings after the pretrial hearing
     is conducted and not proceed to judgment if a defendant applies for
     COVID Emergency Rental Assistance (CERA) and notifies the court
     of the application. The stay is contingent upon the following events:

         (1) An eligibility determination is made by the appropriate
     HARA within 30 days of the pretrial hearing;



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              (2) The defendant is eligible to receive rental assistance for all
        rent owed; and

              (3) The plaintiff received full payment from the CERA
        program within 45 days of the pretrial hearing.

              If any of these events do not occur, excluding delays attributable
        to the plaintiff, the court must lift the stay and continue with
        proceedings. Nothing in the order limits the statutory authority of
        a judge to adjourn a Summary Proceedings case. MCL 600.5732.17

      The Admin Ord No 2020-17 reveals that the State of Michigan via its legislature

and its Supreme Court have made it a priority to work with Michigan landlords and

tenants to mitigate the effects of the pandemic in a manner that both promotes the

public health and ensures that all parties receive due process. As with many

governmental functions, the state has made adjustments to the manner in which it

provides judicial services that accounts for realities of the pandemic. The continued

amendments to Admin Ord No 2020-17 and the commitment to work with state court

stakeholders qualifies as a legitimate activity of the state, one that is best handled by

the state court’s own judges, who, unlike this Court, have personal knowledge of the

local situation, the various interests at stake, the strain being placed on the Court’s

docket arising from the pandemic and especially the applicable limitations in judicial

resources.




17
     Admin Ord No 2020-17. (Emphasis added).

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     C. Alternatively, the Fifth Amendment Claim is not ripe and should be
        dismissed as to all Defendants.

     Article III of the Constitution limits the jurisdiction of federal courts to

consideration of actual cases and controversies, and federal courts are not permitted

to render advisory opinions." Arnett v Myers, 281 F3d 552, 562 (6th Cir 2002)

(internal citation omitted). Therefore, federal courts must dismiss claims that are

unripe. Id. (internal quotation and citation omitted).

     In Williamson County Regional Planning Commission v Hamilton Bank of

Johnson City, the Supreme Court concluded that a Fifth Amendment takings claim

is not ripe if: (1) the initial decisionmaker has not issued its final decision, or (2) the

property owner has not sought compensation through procedures established by a

state. 473 US 172, 190-94 (1985); see also DLX, Inc, v Kentucky, 381 F3d 511, 518

(6th Cir 2004). Where the government’s action constitutes a “physical” as opposed

to a “regulatory” taking, the finality requirement will likely be satisfied; but an

aggrieved landowner still must seek compensation before her claim will be ripe. See

Arnett, 281 F3d at 563-64 (concluding that agency's physical taking constituted its

final, definitive position, but analyzing whether Tennessee had an adequate remedy

available to seek compensation).18



18
  It is also important to note that the proposed class can seek compensation from the
Michigan COVID Emergency Rental Assistance (“CERA”) Program. The CERA
program is the use of federal funds appropriated by the State’s legislature to help

                                            15
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   Here, “[t]he Fifth Amendment does not proscribe the taking of property; it

proscribes taking without just compensation,” Williamson, 473 US at 194 (internal

citation omitted). Thus, where a state provides a “reasonable, certain, and adequate”

avenue for obtaining compensation for a governmental taking of an individual's

property, no takings claim exists until the aggrieved party has sought, and been

denied, just compensation through available remedies. Id. at 194-95 (citation

omitted); see also Coles v Granville, 448 F3d 853, 860-61 (6th Cir 2006).

   The Michigan Constitution provides an inverse condemnation remedy for all

property owners whose property is taken for public use. Mich Const Art 10, § 2.

Property owners may seek compensation for a taking by filing an action for inverse

condemnation. See, Merkur Steel Supply Inc v City of Detroit, 261 Mich. App. 116

(2004). Based on the foregoing, Plaintiffs’ claims as alleged in the Complaint are

not ripe and should be dismissed against all Defendants.




renters who have fallen behind on their payments because of COVID-19 and their
landlords who want to recoup missed payments. Michigan tenants making up to
100% of area median income are eligible for the rental assistance. Participating
landlords can receive up to 90% of a tenant’s unpaid rent in one lump sum. MSHDA
- COVID Emergency Rental Assistance (CERA) (michigan.gov)


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       D. Alternatively, Plaintiffs’ claims for prospective injunctive relief fail on
          mootness grounds.

        Article III of the United States Constitution limits the power of federal courts

to “[c]ases” and “[c]ontroversies.” US Cons Art III § 2. The United States Supreme

Court has noted that the doctrine of mootness requires that the “requisite personal

interest that must exist at the commencement of the litigation (standing) must

continue throughout its existence (mootness).” Arizonans for Official English v

Arizona, 520 US 43, 68, n.22 (1997)). Said another way, jurisdiction properly

acquired, may abate if: (1) it can be said with assurance that there is no reasonable

expectation that the alleged violation will recur; and (2) interim relief or events have

completely and irrevocably eradicated the effects of the alleged violation.19

     Here, Plaintiffs filed this class action lawsuit because the 36th District Court was

abiding by the CDC Moratorium and prohibiting non-payment of rent evictions

outside of the parameters of the moratorium. 20 Even if this Court is to believe that

the Complaint alleges a real controversy (although Defendants wholeheartedly

disagree), Ala Ass’n of Realtors v HHS, 21 settled it, especially since public records



19
   See County of Los Angeles v Davis, 440 US 625, 631 (1979)(quoting SEC v
Medical Comm For Human Rights, 404 US 403 (1972) and DeFunis v. Odegaard,
416 US 312 (1974)).
20
   It is important to note that evictions still occurred in 36th District Court throughout
pandemic (i.e. commercial evictions, damage to property, violation of written lease
provisions, etc.).
21
    210 L Ed 2d 856.

                                           17
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establish that Defendants have followed that precedent.22 This Court, in other words,

has no controversy to address. More to the point, both identified class members (JPA

Holdings and Gosal) in this lawsuit received writs of eviction. In the absence of a

continuing controversy, this Court should dismiss Plaintiffs’ claims on mootness

grounds. Arizonans for Official English, supra, 520 US at 68, n.22 (1997).

        E. Plaintiffs’ claims are barred against Defendant Chief Judge by
           absolute judicial immunity.

     According to the Complaint, Plaintiffs’ claims against Defendant William

McConico are in his official capacity as Chief Judge of the 36th District Court.

Specifically, the Chief Judge’s decision to abide by the CDC Moratorium until the

United States Supreme Court decision Ala. Ass’n of Realtors v HHS.23 That decision

falls safely within the wide range of functions that courts have consistently

recognized are protected by judicial immunity.24

     Designed to discourage collateral attacks and to insulate judges from vexatious

actions prosecuted by disgruntled litigants, the doctrine of judicial immunity bars

claims against judicial officials for their judicial acts.25 Judicial immunity extends to




22
    See Ex. D.
23
    210 L Ed 2d 856.
24
    A Rule 12(b)(6) motion is an appropriate vehicle to assert judicial immunity. See
Leech v DeWeese, 689 F3d 538, 541 (6th Cir 2012).
25
   Stump v Sparkman, 435 US 349, 356 (1978).

                                           18
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all “functions normally performed by a judge,”26 regardless of motive or mistake.27

And it applies to all civil rights claims. 28

     The Sixth Circuit takes a robust approach to judicial immunity, applying it to all

acts normally performed by a judicial officer, even those that are not considered

“paradigmatic judicial acts.” Brookings v Clunk, 389 F3d 614, 617–18 (6th Cir

2004) (citing Mireles, 502 US at 13); see Norfleet v Renner, 924 F3d 317, 319 (6th

Cir 2019) (“[W]e err on the side of granting immunity in close cases.”).

     For instance, in Coleman v Governor of Michigan, the Sixth Circuit extended

judicial immunity to a judge’s administrative order that was issued to other judges

and court staff to instruct them on whether to accept civil filings from indigent

inmates who were delinquent on court fees.29 And in Lawrence v Welch, the Sixth

Circuit held that the determination of “a particular individual’s qualifications and

fitness for admission to practice law,” even when not performed by a judicial officer,

“is an inherently judicial act” protected by judicial immunity.30

     In this case, the Chief Judge was responsible for analyzing and applying federal

orders and moratoriums and to the landlord tenant docket based on his legal

expertise. The actions at issue in this case are judicial acts and should be protected.


26
   Id. at 362.
27
   Mireles v Waco, 502 US 9, 13 (1991).
28
   Hurlburt v Graham, 323 F2d 723, 725 (6th Cir 1963).
29
   413 F App’x 866, 871 (6th Cir 2011).
30
   531 F3d 364, 373 (6th Cir 2008).

                                            19
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         F. In the alternative, the Chief Judge’s actions are barred under qualified
             immunity.

      Qualified immunity is an affirmative defense that protects government actors

performing discretionary functions from liability for civil damages when their

conduct does “not violate clearly established statutory or constitutional rights of

which a reasonable person would have known.” Harlow v Fitzgerald, 457 US 800,

818 (1982). There is absolutely no statutory and/or case law that shows that at ANY

relevant time in the Complaint that Defendant Chief Judge McConico was

knowingly violating clear established rights of the plaintiffs by abiding by the CDC

Moratorium concerning prohibition of non-payment of rent evictions.

      In fact, before the August 26, 2021 United States Supreme Court in Ala Ass’n of

Realtors v HHS31 the Michigan Supreme Court Administrative Order Admin Ord

No 2020-17 amended on July 29, 2021, in its very language, acknowledges that the

challenges to said moratoriums have resulted in “conflicting opinions.”

         Federal response to this problem has taken two forms: eviction
         moratoria and direct state aid. Several evection moratoria have been
         imposed, both by Congress (Pub L. 116-136) and by the CDC
         (published at 85 FR 55292 and extended by Order dated March 28,
         2021). Prohibiting evictions for tenants in certain typed of government-
         supported housing or who meet certain income restrictions. The most
         recently-extended CDC order is slated to expire July 31, 2021 unless
         extended further. In addition, challenged to these CDC orders have
         been working their way through the courts, with conflicting opinions as
         a result. 32

31
     210 L Ed 2d 856.
32
     Admin Ord No 2020-17.

                                           20
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   Moreover, as referenced in the above fact section, Admin Ord No 2020-17

specifically requires a pretrial hearing in each landlord tenant matter before an

eviction hearing – and there is nothing in the order that limits the statutory authority

of a judge to adjourn a landlord tenant matter.

     Given the CDC Moratorium and the Michigan Supreme Court Administrative

Orders requiring additional hearings in landlord tenant matters (and not prohibiting

adjournments of matters), it cannot be said that Plaintiffs claimed constitutional

violations were so clearly established that a reasonable person in Chief Judge

McConico’s position would know he or she was committing a constitutional

violation. Indeed, dismissal is appropriate because there are no clearly established

statutory or constitutional rights that Chief Judge McConico could be said to have

violated based on the actions alleged. It should also not be lost on this Court the

truly extraordinary circumstances under which Judge McConico issued the orders

that Plaintiffs now attack.




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                 CONCLUSION AND RELIEF REQUESTED

      This Court should dismiss Plaintiffs’ lawsuit in its entirety against Defendants

for the reasons set forth above and grant any other appropriate relief.

                                               Respectfully submitted,

                                              ALLEN BROTHERS, PLLC

                                              /s/ Lindsey R. Johnson
                                              James P. Allen, Sr. (P52885)
                                              Lindsey R. Johnson (P67081)
                                              Attorneys for Defendant 36th DC
                                              400 Monroe, Ste. 620
                                              Detroit, MI 48226
Dated: October 29, 2021                       (313) 962-7777



                          CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the ECF system which will send
notification of such filing and send copy of same to the attorneys of record.

                                              /s/ Samantha A. Wells
                                              Samantha A. Wells




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